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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Sherise Richardson v. Edgewell Personal Care, LLC
                                                           _____                         Docket No.:
                                                                                                       23-128 ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Courtney         Harrison

Firm: Stinson       LLP

Address: 1201       Walnut Street, Suite 2900, Kansas City, MO 64106

Telephone:    816-691-2354
                       ___________________________              Fax: 816.412.1172

E-mail:   courtney.harrison@stinson.com

Appearance for:     Edgewell Personal Care, LLC
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                        )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                       )
                                                         (name/firm)

G Additional counsel (co-counsel with: Kieran M. Corcoran, Stinson LLP
✔                                                                                                                    )
                                                         (name/firm)

G Amicus (in support of:                                                                                             )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on                                                                                                    OR

G I applied for admission on                                                                                         .


Signature of Counsel: /s/ Courtney J. Harrison

Type or Print Name:     Courtney J. Harrison
